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                      IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS

ERNEST LANEY,

                        Plaintiff,

v.
                                                    Case Number 20-cv-02811
JOHN DOE, Individually and as actual or
apparent agent of UBER TECHNOLOGIES,                Judge Charles P. Kocoras
INC. and/or LYFT, INC.; UBER
TECHNOLOGIES, INC., a Delaware
Corporation; and LYFT, INC., a Delaware
Corporation, also d/b/a LYFT ILLINOIS, INC.,

                        Defendants.

             NOTICE OF STIPULATED DISMISSAL OF DEFENDANT, LYFT, INC.

           NOW COMES the Plaintiff, ERNEST LANEY, by and through his attorney GREG

OLMSTEAD, of the Dertany and Kosner, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), states

as follows:

           1.     Plaintiff, ERNEST LANEY, hereby voluntarily dismisses Defendant, LYFT,

INC., from this matter, without prejudice.

                                             Respectfully submitted,

                                             ERNEST LANEY

                                             By: s/ Gregory Olmstead
                                                 His Attorney


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